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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


    U.S. EQUAL EMPLOYMENT
    OPPORTUNITY COMMISSION,

          Plaintiff,                                       Civil Action No. 14-cv-3385

          v.                                               Judge Dow

    AUTOZONE, INC., and
    AUTOZONERS, LLC,

          Defendants.


               PLAINTIFF EEOC’S NOTICE OF SUPPLEMENTAL AUTHORITY

         EEOC files this notice of supplemental authority in further support of its response to

AutoZone’s motion for summary judgment. In a newly decided case, Staney v. Forest River, Inc.,

No. 21-1539, 2022 WL 2187794 (7th Cir. June 17, 2022) (attached as Exhibit A), the Seventh

Circuit reversed summary judgment granted to the defendant, concluding that issues of fact

existed regarding notice to the employer because “for the purposes of summary judgment, [the

Court] must view the evidence in the light of [non-moving party] and credit that the conversation

with [the company] occurred, and that [the company] was on notice…” Id. at *5. Staney

therefore provides further support for EEOC’s position raised on pages 33-45 of the EEOC’s

Combined Memorandum in Support of Its Motion for Partial Summary Judgment and Response

to Defendant’s Motion for Summary Judgment (“Combined Memo”) (Doc. #280, Pages 42-54 of

59) 1.




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 The ECF header stamp for Doc. #280 contains the same PageID for each page, therefore the
EEOC cites to the page X of 59 of the ECF header.
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June 28, 2022                  Respectfully Submitted,

                               /s Miles Shultz
                               Miles Shultz
                               Trial Attorney

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